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                       IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION

In re:                                                §
                                                      §
ERIN ENERGY CORPORATION, et al.,1                     §                  Case No. 18-32106
                                                      §
         Debtors.                                     §                   Chapter 11
                                                      §
                                                      §

DEBTORS’ MOTION FOR ORDER PURSUANT TO 11 U.S.C. §365(a) AUTHORIZING
                REJECTION OF RENTAL AGREEMENT
              WITH FOUR OAKS PLACE OPERATING LP

THIS MOTION SEEKS AN ORDER THAT MAY ADVERSELY AFFECT YOU. IF
YOU OPPOSE THE MOTION, YOU SHOULD IMMEDIATELY CONTACT THE
MOVING PARTY TO RESOLVE THE DISPUTE. IF YOU AND THE MOVING
PARTY CANNOT AGREE, YOU MUST FILE A RESPONSE AND SEND A COPY TO
THE MOVING PARTY. YOU MUST FILE AND SERVE YOUR RESPONSE WITHIN
21 DAYS OF THE DATE THIS WAS SERVED ON YOU. YOUR RESPONSE MUST
STATE WHY THE MOTION SHOULD NOT BE GRANTED. IF YOU DO NOT FILE A
TIMELY RESPONSE, THE RELIEF MAY BE GRANTED WITHOUT FURTHER
NOTICE TO YOU. IF YOU OPPOSE THE MOTION AND HAVE NOT REACHED AN
AGREEMENT, YOU MUST ATTEND THE HEARING. UNLESS THE PARTIES
AGREE OTHERWISE, THE COURT MAY CONSIDER EVIDENCE AT THE
HEARING AND MAY DECIDE THE MOTION AT THE HEARING.
REPRESENTED PARTIES SHOULD ACT THROUGH THEIR ATTORNEY.

TO THE HONORABLE MARVIN ISGUR, U.S. BANKRUPTCY JUDGE:

         The above-captioned debtors and debtors in possession (collectively, the “Debtors”)

hereby file this Motion for Order Pursuant to 11 U.S.C. § 365 Authorizing Rejection of Rental

Agreement with Four Oaks Place Operating LP (the “Motion”). In support thereof, the Debtors

state as follows:



1
 The last four digits of Erin Energy Corporation’s (“ERN”) federal tax identification number are 9798. The other
Debtors in these cases are: Erin Energy Limited (“EEL”); Erin Energy Kenya Limited (“EEKL”); and Erin
Petroleum Nigeria Limited (“EPNL”). The Debtors’ service address is: 1330 Post Oak Blvd., Suite 2250, Houston,
TX 77056.
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                            I.      JURISDICTION AND VENUE

       1.      This Court has jurisdiction over these matters pursuant to 28 U.S.C. §§ 157 and

1334. This is a core proceeding pursuant to 28 U.S.C. § 157(b). Venue of these chapter 11 cases

in this District is proper pursuant to 28 U.S.C. §§ 1408 and 1409. The statutory predicates for

the relief requested in this Motion is 11 U.S.C. § 365(a).

                                    II.     BACKGROUND

       Procedural History

       2.      On April 25, 2018 (the “Petition Date”), the Debtors filed voluntary petitions for

relief (the “Bankruptcy Cases”) under chapter 11, title 11 of the United States Code (the

“Bankruptcy Code”) in the United States Bankruptcy Court for the Southern District of Texas

(the “Court”). The Debtors continue to operate and manage their businesses as debtors in

possession pursuant to sections 1107(a) and 1108 of the Bankruptcy Code.

       The Rental Agreement

       3.      The Debtors and T-C Four Oaks Place LLC (“T-C Four Oaks”) entered into a

rental agreement on July 22, 2010 in connection with the Debtors’ leasing of approximately

3,703 square feet of office space on the twenty-fifth floor of the building located at 1330 Post

Oak Boulevard, Houston, Texas (the “Leased Office”). Thereafter, on or about September 17,

2013, the Debtors entered into an amendment of the rental agreement with the new landlord at

that time, Four Oaks Place Operating LP (“Four Oaks”). A true and correct copy of the rental

agreement and amendment (collectively, “Rental Agreement”) is attached hereto as Exhibit “A”

and incorporated by reference herein.

       4.      The Rental Agreement is set to expire after the First Extended Term, ending on

October 31st, 2019. As such, when the Debtor filed its bankruptcy petition, approximately

eighteen (18) months remained in the term of the Rental Agreement. The Rental Agreement

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contemplated a scaled rental price whereby the monthly rent from the Petition date through

November 30, 2018 is $9,566.08/month and for the time period December 1, 2018 through

October 31st, 2019 is $9,720.38/month. The last month in which a full rental payment was made

was March of 2018. In total, $183,452.82 remains owing on the Rental Agreement.

        5.       At present, the Debtors have moved their remaining employees and personal

property out of the Leased Office and into the offices held under a separate lease in the same

building.

                                  III.   RELIEF REQUESTED

        6.       Pursuant to section 365(a) of the Bankruptcy Code, the Debtors submit this

Motion requesting that the Court Authorize Debtors to Reject the Rental Agreement with Four

Oaks.

                                   IV.    BASIS FOR RELIEF

        7.       Section 365(a) of the Bankruptcy Code allows a debtor to, “subject to the court’s

approval,…reject any executory contract or unexpired lease.” 11 U.S.C. § 365(a). Courts in the

Fifth Circuit follow the majority rule that a debtor’s decision to reject an unexpired lease is

subject to the business judgment test. See e.g., In re Eagle Bus Mfg., Inc., 134 B.R. 584 (Bankr.

S.D. Tex. 1991) (confirming reorganization plan, court found debtor’s rejection of unexpired

leases to be sound business judgment and in the best interest of estates). The sole inquiry is

whether the rejection will benefit the estate. See Commercial Fin., Ltd. v. Hawaii Dimensions,

Inc. (In re Hawaii Dimensions, Inc.), 47 B.R. 425, 427 (D. Haw. 1985) (“Under the business

judgment test, a court should approve debtor’s proposed rejection if such rejection will benefit

the estate.”).




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       8.      The Debtors’ estates will be significantly benefitted as the office space needed to

maintain operations has been dramatically reduced, and the monthly rental expense to maintain

unused office space is a waste of estate resources. Granting the relief requested herein is in the

best interest of all creditors and the debtors’ estates and will help the Debtors to continue

operations by eliminating the unnecessary monthly expense.

       WHEREFORE, the Debtors respectfully request that the Court enter an order,

substantially in the form filed herewith, granting the relief requested in this Motion, and such

other and further relief as may be just and proper under the circumstances.

DATED: June 11, 2018.

                                             Respectfully submitted,

                                             OKIN ADAMS LLP

                                             By:         /s/ Matthew S. Okin
                                                    Matthew S. Okin
                                                    Texas Bar No. 00784695
                                                    mokin@okinadams.com
                                                    David L. Curry, Jr.
                                                    Texas Bar No. 24065107
                                                    dcurry@okinadams.com
                                                    John Thomas Oldham
                                                    Texas Bar No. 24075429
                                                    joldham@okinadams.com
                                                    Ryan A. O’Connor
                                                    Texas Bar No. 24098190
                                                    roconnor@okinadams.com
                                                    1113 Vine St., Suite 201
                                                    Houston, Texas 77002
                                                    Tel: 713.228.4100
                                                    Fax: 888.865.2118

                                             PROPOSED ATTORNEYS FOR THE
                                             DEBTORS




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                              CERTIFICATE OF SERVICE

       I hereby certify that on June 11, 2018 the foregoing Motion was served upon filing via
the Court’s EM/ECF electronic system on all parties subscribing thereto, as well as by regular
mail on the Debtors’ Master Service List.

                                                  /s/ Matthew S. Okin          _______
                                                  Matthew S. Okin




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